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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   :
                                           :       Case No. 1:21-cr-160-6 (TJK)
       v.                                  :
                                           :
RYAN ASHLOCK,                              :
                                           :
                Defendant                  :

                       NOTICE OF FILING OF VIDEO EXHIBITS

       The United States hereby gives notice that it has delivered to chambers two video files,

named “Gov Ex B - Ashlock tearing fence at 2.33.mp4” and “Gov Ex C - Ashlock pulling

barricade.mp4,” both of which were referenced in the government’s Sentencing Memorandum

[ECF 169] in the above-captioned case. Copies of the videos have also been provided to the

defendant.

                                           Respectfully submitted,

                                           MATTHEW M. GRAVES
                                           United States Attorney
                                           D.C. Bar No. 481052

                                    By:    /s/ Conor Mulroe
                                           CONOR MULROE, NY Bar No. 5289640
                                           Trial Attorney
                                           U.S. Department of Justice, Criminal Division
                                           1301 New York Ave. NW, Suite 700
                                           Washington, D.C. 20530
                                           (202) 330-1788
                                           Conor.Mulroe@usdoj.gov




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